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FILED

IN THE UNITED STATES DISTRICT COURT APR 2 8 2021

FOR THE SOUTHERN DISTRICT OF ILLINOIS §cyg,

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UNITED STATES OF AMERICA, “ASTST Louis ope jtLINOIS

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Plaintiff, )
vs. cRIMINALNO. “Z\- (0- 30058 Dud
JASON E. SPENGLER,
Defendant.
STIPULATION OF FACTS

The United States of America, by and through Steven D. Weinhoeft, United States
Attorney for the Southern District of Hlinois, and Peter T. Reed, Assistant United States Attorney,
enter into the following Stipulation of Facts with Defendant Jason E. Spengler, and his counsel
Justin Kuehn, pertaining to the conduct of the Defendant charged in the information in this case
and the relevant conduct of the defendant within the scope of U.S.S.G. § 1B1.3.

1. As charged in Count One of the Information in Case No. , on or about
April 21, 2020, Defendant Spengler signed and submitted to U.S. Bank National Association
(“U.S. Bank”) a Paycheck Protection Program Borrower Application Form, Form 2483
(“Application Form”), on behalf of Spengler Plumbing Co. Inc. (“Spengler Plumbing”) that
contained a materially false statement.

2. Spengler Plumbing is a privately held business located in O'Fallon, Illinois.
Defendant Spengler is the sole owner of Spengler Plumbing.

3. U.S. Bank is a financial institution, the deposits of which are insured by the Federal
Deposit Insurance Corporation (“FDIC”). U.S. Bank was also a participating lender in the
Paycheck Protection Program.

4. The U.S. Small Business Administration (SBA) is an agency within the executive

 

 
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branch of the United States government.

5. The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act was a federal
law enacted in or around March 2020 and designed to provide emergency financial assistance to
Americans who were suffering the economic effects caused by the COVID-19 pandemic.

6. One source of relief provided by the CARES Act was the Paycheck Protection
Program, a federal loan program run by SBA that provided loans to help qualifying businesses
keep their workforce employed during the Coronavirus (Covid-19) crisis.

the The first question on the Paycheck Protection Program Application Form asks, “Is
the Applicant or any owner of the Applicant . . . presently involved in any bankruptcy?” Above
this question, the Application Form states that “the loan will not be approved” if the applicant
answers “Yes.”

8. Defendant Spengler checked “No” on the Application Form, indicating that

Spengler Plumbing was not in bankruptcy:

Ifquesrions

    
 

‘li or (2) below are answered “Tes,” the loan will nor be approved.

 

  

 

1. Ig the Applicant or any owner of the Applicant prezenfly suspended, debarred, proposed for debarusent, declared ineligible, Cl
voluntarily excluded from pasticipation in this transaction by any Federal department ot agency, of presently involved in

any bankruptcy?
9. Defendant Spengler aiso signed the Application Form, certifying that:
a. He had read and understood the statements included in the application;

b. Spengler Plumbing was eligible to receive a loan under the rules in effect at the
time the application was submitted;

¢. The information provided on the loan application was true and accurate in all
material respects; and

d. Knowingly making a false statement to obtain a guaranteed loan from SBA is

punishable under the law, including under 18 U.S.C. §§1001 and 3571 by

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imprisonment of not more than five years and/or a fine of up to $250,000.

10. By checking “No,” Defendant Spengler knowingly and willfully made a false
statement to U.S. Bank in order to obtain a guaranteed loan from SBA. Spengler Plumbing had
filed for bankruptcy on August 19, 2019 and remained in bankruptcy at the time Defendant
Spengler submitted the Application Form to U.S. Bank on April 21, 2020. See In re: Spengler
Plumbing Co. Inc., 19-30958-lkg (S.D. I. Bankr.). Defendant Spengler signed the bankruptcy
petition on behalf of Spengler Plumbing.

11. As the Application Form explained, the loan would not have been approved if
Defendant Spengler checked “Yes.” Under rules promulgated by the SBA, entities in bankruptcy
were not eligible for loans under the Paycheck Protection Program. See SBA’s Fourth Interim
Final Rule, 85 Fed. Reg. at 23451. Thus, Spengler Plumbing’s loan application would not have
been approved but for Defendant Spengler falsely checking “No.”

12. Based on the Application Form signed by Defendant Spengler, and the false
statement contained therein, U.S. Bank issued a loan under the Paycheck Protection Program to
Spengler Plumbing Co. Inc. in the amount of $487,095.00 on April 23, 2020.

13. Defendant Spengler and Spengler Plumbing did not seek or obtain authorization
from the bankruptcy court for Spengler Plumbing to incur the new unsecured debt, as required by
11 U.S.C. § 364.

14. Debtors in bankruptcy are required to submit Monthly Operating Reports to the
bankruptcy court. Question 15 of the Monthly Operating Report form asks “Have you borrowed
money from anyone or has anyone made any payments on your behalf?” Spengler Plumbing’s
April 2020 Monthly Operating Report answered “No” to this question, indicating it had not
borrowed money in April 2020. A later note in the Monthly Operating Report adds, “Received

CARES Act relief money to alleviate some struggles with decreases.” Defendant Spengler signed

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the report on behalf of Spengler Plumbing.

15. On June 16, 2020, a representative of the bankruptcy trustee asked Defendant
Spengler, though counsel, about the new loan and Spengler Plumbing’s failure to seek
authorization to undertake new debt.

16. On June 25, 2020, Spengler Plumbing repaid $176,751.85 of the Paycheck
Protection Program loan to U.S. Bank. The business had already spent approximately
$310,343.15,

17. Asaresult of the false statement on the loan application, Spengler Plumbing is not

eligible for loan forgiveness from the SBA under the Paycheck Protection Program.

SO STIPULATED:

STEVEN D. WEINHOEFT
United States Attorney

PETER T. REED
Assistant United States Attorney

 

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JYSTIN RUEHN, Esq.
Attorney for Defendant

Date: AY Date: 04/01/2021

 
